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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: Heather A. Wang
        Eric W. Wang
                                   Debtor(s)                                      Chapter 13

 LoanDepot.com, LLC
                          v.
 Heather A. Wang                                                             NO. 20-11403 AMC
 Eric W. Wang
                          and
 Scott F. Waterman
                                   Trustee

                                                       ORDER
         AND NOW, this            day of                , 2022 upon the filing of a Certification of Default by the
 Moving Party in accordance with the Stipulation of the parties approved on August 27, 2021 it is ORDERED
 AND DECREED that:
         The Automatic Stay of all proceedings, as provided under 11 U.S.C. Sections 362 and 1301 of the
 Bankruptcy Reform Act of 1978 (The Code) 11 U.S.C. 11 U.S.C. Sections 362 and 1301 (if applicable), is
 modified to allow LoanDepot.com, LLC and its successor in title to proceed with the execution process through,
 among other remedies but not limited to Sheriff's Sale regarding the premises 6249 Patrick Henry Court Bensalem,
 PA 19020.
         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.



  Date: May 25, 2022
                                                             United States Bankruptcy Judge.


 cc: See attached service list
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